
PER CURIAM.
|, The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent practiced law while ineligible to do so and failed to place an advance fee into his client trust account until earned. Prior to the filing of formal charges, respondent and. the ODC submitted a joint petition for consent discipline in which respondent admitted that his conduct violated Rules 1.1(c), 1.5(e), 1.5(f)(3), 5.5(a), 8.4(a), and 8.4(c) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted - and that Andrew N. Lee, Louisiana Bar Roll number 24154, be suspended from the practice of law for a period of one year and one day, with all but ninety days deferred, followed by a one-year period of supervised probation. The probationary period shall commence from the date respondent, the ODC, and the probation monitor execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred portion of the suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
